 

Case: 1:11-¢v-05624 Dadumentét:/1-WBitet0m47/11 Page 1 of 33 PagelD #:25

ILLINGIS DEPARTMENT OF CORRECTIONS —
OFFENDER'S GRIEVANCE Plosn Aes: ExtgiT-< As|

 

 

 

 

 

 

 

 

 

 
 

 

 

 

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Y-~2-20/0 . | Please Pin) Atal Lie bic} es Reed O
- Present Facility: 7 | Facility where grievance . . Tiyleyenne OGine
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NATURE OF GRIEVANCE: APH 9 @ H
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[7] Staff Conduct [} Dietary § - [3 Medical Treatment — C] HIPAA evs # crane
C1] Transfer Denial by Factity [) Transfer Denial by Transfer Coordinator =~ ( Other fear ees _
[] Disciplinary Report: i 1

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Note: Protactive Custody Denials may be grieved immediately via the local administration on the protective Gustady status notification.

Gomplete: Attach a copy of any pertinent document (sich as a Disciplinary Report, Shakedown Record, etc.) and send to;

Counselor, unless the issus Involves discipline, is deemed an emergency, or is subject fo direct review by the Administrative Review Board.
Grievance Officer, only if the issue-involves discipline at the present facility or issue not resolved. by Counselor. .
Chief Administrative Officer, only if ERIERGENCY grievance. ,
, Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary ~
"administration of psychotropic drugs, issues from another facility except personal property Issues, or issues not resolved by the Chief
Administrative Officer.

Brief Summary of Grievance: This Grievance is tn LEGS cd to the refosal of LAY. Cegvest
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Si ~“ Offender's Signature Ibe Date”
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| Counselor's Response (if applicable). |

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: Administrative Review Board, P.O. Box 49277,
Springfield, i. 62794-9277

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Chief Administrative Officers Signature Daie
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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 2 of 33 PagelD #:26

ILLINGIS DEPARTMENT OF: {CORRECTIONS ,

OFFENDER'S GRIEVANCE: (Coritihied)

 

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Case: 1:11-v-05624 Document #: 1-1 File Gindlvekakide Page Bef 33 Pa agelD #:27
RESPONSE TO COMMITTED PERSON’S GRIEVANC

 

 

Anas.
| Grievance Officer's Report |
Date Received: April 20, 2010 Date of Review: May 20, 2010 | Grievance @ 1048
Committed Person: Randy Liebich Inmate #: R34940

Nature of Grievance: Medical Tx

filed timely **

Facts Reviewed: Grievant states that he is requesting a thyroid hormone test and a complete lab test.
Relief Requested: receive a thyroid and lab test. Treatment for abdominal pains.

Grievance written: 4/2/10

Sent to HCU: 4/3/10

Medical response received: 4/10/10

According to medical chart, i/m Ziebich R34940 had medical furloughs on 12/22/09, 1/6/10 and 2/5/10. i/6/10, i/m refused rectal exam
and 24 hour urine test. 2/3/10 was seen and prescribed Fibecon and Acetamephin on 2/5/10 prescription written for cholesterol and
blood pressure. IM did not show up on 2/10/10 and 2/11/10 for clinic, which is when he can get lab work done. i/m has to have
symptoms in order to get thyroid hormone test which is done on clinic day. Will be rescheduled in future for clinics. No future
appointments at this time.

it appears that this grievance issue has been resolved. Multiple appointment dates reflect that medical staff is following up with
grievant.

This Grievance Officer has no medical expertise or authority to contradict the doctor’s recommendation / diagnosis.

Recommendation: No further action necessary at this time. Grievance DENIED.

Shaun Bass CCl DS OO,

Print Grievance Officer's Name fogks. ke. “Grievance Officer's Signature

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{Attach a copy of C jtted Person’s Gri Y "s resp if applicable) * ~~

 

 

 

es Administrative Officer's Response

Date Received: oom ) (1 | do not concur (J Remand
Comments:

 

 

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Date

Meee bit Administrative Officer's Signature: Al
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| Committed Parson's Appeal To The Director |

 

 

tam appealing the Chief Administrative Officer's decision to. the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, 1L 62794-9277. (Attach a complate copy of the
original g i . ing the lor’s Pp if applicable, and any pertinent documents.)

 

 

 

 

 

 

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aa “” Committed Person's Signature ° Date
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Distribution: Master File; Committed Person Page 1 DOC 0047 (Eff. 10/2001)
(Replaces DC 5657)

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illinois Governor

Department of
Corrections
ESTEE ee

401 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 | Telephone: (217) 558-2200 / TDD: (800) 526-0344

MICHAEL P. RANDLE

Director

 

June 25, 2010

Randy Liebich
Ragister No. R34940
Stateville Correctional Center

Dear Mr. Liebich:
This is in response to your grievance received on June 14, 2010, regarding medical (requests Thyroid test
and "complete" lab test), which was alleged to have occurred at Stateville Correctional Center. This office

has cetermined the issue will be addressed without a formal hearing.

Offender did not show up on 2/10/10 and 2/11/10 for clinic, which is when he can get lab work done.
Offender has to have symptoms in order to get thyroid hormone test which is done on clinic day. Offence:
will be rescheduled in future for the clinic.

Muitiple appointment dates reflect that medical staff is following up with grievant.

The Grievance Officer's Report (1048) and subsequent recommendation dated May 20, 2010 and approval
by ithe Chief Administrative Officer on June 20, 2010 have been reviewed.

Based on a total review of all available information, it is the opinion of this office that the grievance be denied

as the offenders medical needs are being addressed by the Stateville Correctional Center Administration, in
accordance with established policies and procedures.

FOR THE BOARD: [ ‘mal C.

Jackie Miller
Administrative Review Board
Office of Inmate Issues

    

CONCURRED:

 

Michael P. Randle
Director

cc: Warden Hardy, Stateville Correctional Center
Randy Liebich, Register No. R34940
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NATURE OF GRIEVANCE:
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C1 Staff Conduct C Dietary MedicatTreatment — CHHIPAA
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Date of Report Facility whers issued

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue-involves discipline at the present facility or issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.

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Brief Summary of Grievance: . i
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Relief R a. 1) T want a thyroid hormone test. ’ 2). want treatment for my abdominal painsl

|=) I want MRT and any other necessary test to determine cause of headaches.

 

oO Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to self. /

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Offender's Signature : : ID Date
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| Counselor’s Response {it appticable) |

‘Date S d IO . .
Received: _ l . (C1 Send directly to Grievance Officer [1] Outside jurisdiction of this facility. Send to

Administrative Review Board, P.O. Box 19277,

Response: THrs GREE V AACE Is LV meets "sd Ata. A | |
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| EMERGENCY REVIEW |

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INMATE ISSUES l l
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rt Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 7 of 33 PageID #:31
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NATURE OF GRIEVANCE:
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Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to;

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Administrative Officer.

Brief Summary of Grievance: This Girievaszce /s ia regacd to the refusal of HAY. ceguest
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Relief Requested:

 

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Offender's Signature iD# Date

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a ; | Counselor’s Response (if applicable) |

 

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Received: of / ( (7 Send directly to Grievance Officer [1] Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, {_ 62794-9277

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Offender should submit this grievance
in the normal manner.

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Chief Administrative Officer's Signature Date

 

 

 

 

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Case: 1:11-cv0RRed.RacuRandts 1- iF iled- 08/17/11 Page 9 of 33 PagelD #:33
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Page 2 DOC 0046 (Rev. 3/2008)

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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 10 of 33 PagelD #:34
ILLINOIS DEPARTMENT OF CORRECTIONS A-7 ;

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Administrative Review Board
Return of Grievance or Correspondence

Offender: cL} CL Ly Ae end Mi (349¢5

 

Last Nartie First Name
Facility: Via

. . - bff -/
\forievance: Facility Grievance # (if applicable) Dated: 7- C Cor [] Correspondence: Dated:

Received: Y ttl thy Regarding: Cyn hr ea dA he tat ot A orn.
J Date Qni

 

 

The attached grievance or correspondence is being returned for the following reasons:

 

Additional information required:
(1 Provide a copy of your written Committed Person’s Grievance, DOC 0046, including the counselor's response, if applicable.

Provide a copy of the Committed Person’s Grievance Report, DOC 0047, including the Grievance Officer's and Chief
Administrative Officer's response, to appeal.

4
[1 Provide dates of disciplinary reports and facility where incidents occurred.
O

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1301 Concordia Court

Springfield, IL 62794-9277

 

 

Misdirected:
[1 Contact your correctional counselor regarding this issue.
[1 Request restoration of Good Conduct Credits (GCC) to Adjustment Committee. If the request.is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.
L] Contact the Record Office with your request or to provide additional information.
[] Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.
[-] Address concerns to: lilinois Prisoner Review Board

319 E. Madison St., Suite A
Springfield, IL 62706

 

 

No further redress:

[1 Award of Meritorious Good Time (MGT) and Statutory Meritorious Good Time (SMGT) are administrative decisions; therefore,
this issue will not be addressed further.

PK not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

 

 

 

 

 

 

(1 This office previously addressed this issue on / /
Date

OR .No justification provided for additional consideration.

Other (specify):
-
Completed by: Gina Allen Gina Hllen  1¢ 1 lo
Print Name ‘ Signature Date
Distribution: Offender Printed on Recycled Paper DOC 0070 (Rev. 8/2010)
Inmate Issues

 

 

 
 

ICLINO!S DEPARTMENT OF CORRECTIONS

Case: 1:11-cv- ‘05624 Document #: 1-1 Filed: @@FENDER'S-GRIEVANCE f 33 PagelD #: =

 

 

 

 

 

 

 

Az 2, l
Offender:
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IM Staff Conduct [I Dietary Tl Medical Treatment. TO HIPAA | _.
(1 Transfer Denial by Facility. [[] ‘Transfer Denial by Transfer Coordinator [Other eepeciye _L7TAP
(1 Disciplinary Report: ! t oe
: “Date of Report Facility where issued

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

- Complete: Attach a copy of any pertinent: document (such as-a Disciplinary Report, Shakedown Record, etc.) and send to:
Counselor, uniess the issue involves. ciscipiins, is deemed an. emergency, or is subject to direct review.by the Administrative Review Board.
Grievance Officer, only. if the. jssue.Invalves discipline at the present facility or issue not rasolved.by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.

_ Administrative Review Board, only if the issue involves transfer-denial by the Transfer Coordinator, protective custody, Involuntary —

administration of psychotropic drugs, Issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

- Brief Summary of Grievance: Ori. 6 aes ac/O FE (es gent fe the. heclth Cc./7°E, coat for Gr emergency)

 

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Offender's Signature

 

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| Counselor's Response (t applicable) of

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Administrative Review Board, P.O, Box 19277,
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ILLINCES DEPARTMENT OFGORRECTIONS —

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LLINOIS PARTMENT OF CORRECTIONS
‘. ,. Case: 1:11-cv-05624 Document #résfondeto COMMITTED PERSONISiGRIE@ANeB eID #:38 A-¥
tae | Grievance Officer’s Report |
Date Received: 7/14/10 Date of Review: 7/19/10 | Grievance # (optional): 1729
Committed Person: Randy Liebich ID#:; R34940

Nature of Grievance: Medical Treatment

Facts Reviewed: Grievant claims that he received inappropriate medical care for a kidney stone lodged at the tip of his
urethra. He also claims he was charged a $2.00 co-pay and he should not have been charged and that he did not receive pain
medication. He wants to be monetarily compensated for his pain and suffering.

Per Medical Records on 7/16/10, grievant was seen by outside hospital on 6/26/10. The procedure used at Stateville was a normal
procedure. Motrin medication was prescribed to grievant on 6/29/10. No $2.00 co-pay was ever charged to grievant.

Recommendation: Issues appear to be resolved as grievant appears to be receiving appropriate medical
care. There is no justification for any monetary compensation.

Anna Dockery, CCH — Canashey eae

 

 

 

 

 

Print Grievance Officer's Name Grievarte-Sificer’s Signature
(Attach a copy of Committed Person’s Gri 5 "S if applicable)
| Chief Administrative Officer’s Response |
) Date Received: 7 Ql l 0 FW concur (1 !do not concur CI Remand

Comments:

 

Jace Maly © ___ afoafo

| Committed Person’s Apweal To The Director

 

 

| am appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief ‘eae Officer's Gecision to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach a complete copy of the

 

 

 

 

 

ble, and any pertinent documents.)
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‘es Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 15 of 33 PageID #:39

  
   
   

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og PAT QUINN
Illinois Governor
Department of oe GLADYSE C. TAYLOR
Corrections Acting Director

1301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TDD: (800) 526-0844

October 14, 2010
Randy R. Liebich
Register No. R34940
Stateville Correctional Center

Dear Mr. Liebich:

This is in response to your grievance received on August 12, 2010, regarding Medical (treatment for kidney
stone) and Business/Trust ($2 co pay), which was alleged to have occurred at Stateville Correctional Center.
This office has determined the issue will be addressed without a formal hearing.

Your written grievances dated July 1 and July 12, 2010 have been reviewed. You claim you are not getting
proper treatment for kidney stones.

The Grievance Officer's Report (1729) and subsequent recommendation dated July 19, 2010 and approval
by the Chief Administrative Officer on July 23, 2010 have been reviewed.

Per medical records Liebich was seen by outside hospital on June 26, 2010. Procedures used at Stateville
were according to protocol and standard. Motrin was prescribed on June 29, 2010 to Liebich. The $2 co
pay was never placed against Liebich trust fund account.

Based on a total review of all available information, and in accordance with DR504.850, it is the opinion of
this office that the grievance has been ruled no merit; therefore no action will be taken.

FOR THE BOARD: So VL

Gina Allen
Administrative Review Board
Office of Inmate Issues

 

 

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Acting Director / iH j_
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cc: Warden Marcus Hardy, Stateville Correctional Center
Randy R. Liebich, Register No. R34940

 

 
 

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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 16 of 33 PagelD #:40

 

 

 

 

 

 

 

 

 

 

ILLINOIS DEPARTMENT OF CORRECTIONS -
OFFENDER'S GRIEVANCE ~~~ A /
- = -/
Date: Offender: . ° } (De:
July 12, 2010. (Ptaaae Peng Randy Liebich R34940
- Present Facility: . Facility where gri . a ,
Stateville tseuogccured, —Stateville
NATURE OF GRIEVANCE: .
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Cl Staff Conduct [] Dietary — } Medical Treatment [TV HIPAA
[1] Transfer Denial by Facility [1]. Transfer Denial by Transfer Coordinator = LD Other (speciy): ie
(1) Disciplinary Report: t / :
: Date of Report Facility where issued

Note: —_Protective.Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document {such as a Disciplinary Report, Shakedown Record, efc.) and send to:
Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue-invoives discipline at the present facllity or issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.
, Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
"administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer. :

Brief Summary of Grievance: 1 had been complaining about abdominal Pains for literally
Months, suffering tremendous pain on numerous and frequent occassions,

 

I was not recieving proper. care, andhad I received the proper Medical
Tests, and recieved a proper diagnoses and Treatment literally "Months

 

Ago", My Medical situation would not have progressed to the degree
Where I had to suffer needlessly and recieve Surgery which could have

 

 

been prevented, and-I would not have indured inappropriate. medical

 

procedures and extreme pain and permenent injury at Stateville Correct-

ional on 6-26-2010 by a "Fill-in" Doctor from Logan Correctional

 

Center (Subject of another Grievance dated 7-1-10) _--(Con't on Back)

 

Relief R ted: _Hold someone accountable for the improper medical care, and
failure to give proper tests and treatment to prevent the unnecessary
Suffering, pain, and inappropriate medical treatment once the situation|was

C1 Check only if this is an EMERGENCY grievance due to a substantial risk of imminent perschat Pee Tver nae BOSS Obie harm to self.

 

Peay Sih R3YGYo__ 7 1/1 LEIo
Tr Offender's Signature DH Date

(Continue on reverse side if necessary) -

 

 

t Counselor’s Response (if applicable) . |

Date ‘ / - [6 |: .
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Administrative Review Board, P.O. Box 19277,

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Prift Counselors Narge Date of Response
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: (C1 No: an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.
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Chief Administrative Officer's Signature Date
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OFFENDER'S GRIEVANCE: (Continued) ce

 

The Failure to provide proper Medical Care, Tests and Treatment, Caused
me to be in severe pain on numerous days needlessly, made me have many
sleepless nights due to having to endure excruciating abdominal pains

for many hours on end, until one day I had not urinated for over 36-hours
only to find out from a "Fill-in" Doctor, that I had a Kidney Stone, so
big, €Approx. 8mm to 9mm in diameter) that the Doctor improperly tried

 

 

to remove it without anstesia, and durin, the course of this. doctors
ill-fated attempts, he caused further damage by ‘ ‘puncturing a hole in

me with a pair of tweezers which caused profused bleeding, that caused
this doctor to send me out to an outside hospital to perform surgery

 

due to this Logan Doctor's inappropriate medical treatment and unnecessa
Injury he. caused, now I urinate in two streams.

 

 

Someone needs to be held accountable for not providing proper
medical care and tests ‘before’ this situation had gotten that bad, and
the Logan Doctor unnecessarily caused physical injury and suffering.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 18 of 33 PagelD #:42

  
 
 
   

A- In
Pat Quinn
linois Governor
Department of | Michael P. Randle
Corrections | : Director

Stateville Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844

MEMORANDUM

DATE: 08/11/10

TO: Liebich, Randy R34940
B1007

FROM: Colleen Franklin, CCH
Grievance Office \
SUBJECT: ATTACHED GRIEVANCE -# 2003 Medical Treatment

The attached grievance is being returned for the following reason:

It needs to be rewritten and submitted to your counselor on the attached
IDOC Offender’s Grievance form.

It was not filed within 60 days of discovery of the incident, occurrence, or
problem which gives rise to the grievance as required in DR 504F, Grievance
Procedures for Committed Persons.

ee

Issue needs to be discussed with your counselor for possible resolution.
No issue outlined in grievance.

It appears that no attempt has been made to resolve the issue as required by DR
504F.

Issue is currently being reviewed by the Office
Issue previously addressed. No justification for further action.

X Other: This grievance is a duplicate to # 1729 Medical treatment that

was addressed by this office and signed off by the Warden on 7/23/10

CC: file

 
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Brief Summary of Grievance: :

 

 

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Offender’s Signature

 

 

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- Counselor, unless the issue involves. discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
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~- Chief Administrative Officer, only if EMERGENCY ’ grievance. se oes wes
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|_ Counselor's Response (if applicable) |

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Springfield, IL ar
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|. EMERGENCY REVIEW |

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_ RESPONSE TO COMMITTED PERSON’S GRIEVANC A-16

 

—L ___° Grievance Officer’s Report

 

Date Received: ‘September 16, 2010 ‘Date of Reviewed: Apri! 4, 2044 | Grievance #2505, 2665, 2997
Committed Person: RANDY WIEBICH . 1.D.# R34940

Nature of Grievance: MEDICAL TREATMENT

Facts Reviewed: Grievant alleges that his self reported medical history \ was not documented in his medical records. He also
alleges that he is not receiving proper medical treatment for the continued urinary issues. He wants alt of his medica! history -
documented and he wants follow up treatment at St. Joseph Hospital.

Counselor 1 Response: per R. Bishop on oot 0/10, according to medical charts all dates are docuiriented except for 07/06/10
which there was no appointment scheduled. On 09/23/10, according to medical chart Inmate was seen on 09/16/10 to have an
x-ray done and 09/17/10 for a follow up. Has pending urology appointment at outside hospital.

Grievance Officer finds that per OTS and medical records grievant was:
Seen on 06/26/10 by HCU for the complaint of kidney stones — sent to St: Joseph Hospital .
Sent to: and admitted on 06/26/10 to St. Joseph Hospital for the complaint of kidney stones. )
Seen on 0627/1 0 by HCU upon retum to Stateville after discharge from St. Joseph Hospital : . .
Seen on 06/28/10 by HCU for follow up . in |
-_.] Seen on 07/02/10 by HCU for follow up . .
Seen on 07/06/10 by Lab for ordered lab tests : :
Seen on 09/1 5/10 by Dr. Ghosh regarding continued issue of urinary concerns ~ ~ ordered x-ray — refer to UIC for consult ,
Seen on 09/1 6/10 for x-ray .
Seen on 03/02/1 1 by UIC Urology Clinic
Seen on 03/4711 4 by vic Urology Clinic :

This Grievance Officer has no } medica expertise or authority to. contrat the Doctor's recommendation / diagnosis.

Recommendation: Based on a review of ail available information, grievance issue is MOOT.

   

Colleen Franklin, CCII
oe oe Bote Print Grievance Oficers Name Grievance. Officer's Signature
: (Attach a copy of Committed Person's Grievance, including counselor's response if applicable)

 

 

i | Chief Administrative Officer's Response |

A 1 concur DD !do not concur [] Remand

  

Date Received: _

Comments a

  

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fam n appéating the Chief Administrative Officar's decision to the Director. | understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Adrainistrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach a complete copy of the

; 7 a . _. ~ Lt
oe | : Committed Person's ‘Appeal To The Dikettor |

 

 

 

 

 

 

 

 

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fp ".. Committed Person's Signature — . . IDF "Date /
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illinois . Governor
Department of S.A. GODINEZ
Corrections Director

1301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TDD: (800) 526-0844

June 16, 2011

Randy R. Liebich
Register No. R34940
Stateville Correctional! Center

Dear Mr. Liebich:

This is in response to your grievance received on April 21, 2011, regarding Medical (has not been properly
treated for urinary issues, offenders self reported medical issues have not been documented in his medical
file and request for all medical follow-up to be conducted at St. Joseph's Medical Center), which was alleged
to have occurred at Stateville Correctional Center. This office has determined the issue will be addressed
without a formal hearing.

Your written grievances dated August 13, 2010, September 6, 2010 and September 22, 2010 regarding the
above issue have been reviewed.

The Grievance Officer's Report (2505, 2665 and 2997) and subsequent recommendation dated April 4, 2011
and approval by the Chief Administrative Officer on April 8, 2011 have been reviewed.

The detailed list of visits/treatment/services performed to/on Liebich as reported by the Grievance Officer has
been reviewed.

Based on a total review of ail available information, it is the opinion of this. office that the issue was
appropriately addressed by the institutional administration. It is, therefore, recommended the grievance be
denied as Liebich has been treated in accordance with protocol.

FOR THE BOARD: 4 Jb,

Gina Allen
Administrative Review Board
Office of Inmate Issues

CONCURRED: SX, AL mn

S.A. Godinez 74.
Director lo /2 Ji /

cc: Warden Marcus Hardy, Stateville Correctional Center
Randy R. Liebich, Register No. R34940
Case: 1:11- -CV- 05624 Document #: 1-1 Filed: 08/17/11 Page 27 of 33 PagelD #:51

 

 

 

 

 

 

 

 

ILLINOIS DEPARTMENT OF GORRECTIONS A |
/ OFFENDER'S GRIEVANCE . / g
Date: Offender: "4 SDA:
. I= 10-201). | Preaserriny Rc: uticly Liehieh - R&Y Geo
| Present Facility: ej . Facility where grievance nf . if ,
SFeteville. ___| iss Stitenile
NATURE OF GRIEVANCE: ees
O Personal Property ’ £1 Mail Handling C] Restoration of Good Time 1] Disability
(Cl Staff Conduct Cl Dietary ~ . [1] MedicalTreatment | .[] HIPAA O -
C1) Transfer Dénial by Facility (). Transfer Denial by Transfer Coordinator - 1 Other cepeciyy, *
fg Disciplinary Report: 5s Lael! Stale ‘lle.

 

/ Date of Report . Facility where issued
Note: Protective Custody Denials may be grieved immediately: Via the focal administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary’ ‘Report, Shakedown Record, ete.) and send to:

Counsetor, untess the issue Involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board:
Grievarice Officer, only if the issue-involves discipline at the present Taciily or Issue not resolved.by Counselor. : .
Chief Administrative Officer, only if EMERGENCY giievance.

, Administrative Review Board, only if the issue involves transfer: deniat by the Transfer Coordinator, protective custody, involuntary

. administration of psychotropic drugs, Issues from another facility except personal property issues, or issues not resolved by the Chief
: Administrative Officer.

Briof Summary of Grievance: . Oyo fs oell - oft apecconinately Zz ROBIE, ther sual

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Relief Requested: : :

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a Check only if thi is an EMERGENCY grievance due to a substantial risk of imminent personal injury or ather sarious or irreparable harm to self.

Keach suck | Asi 1 te vas

Offenders Signature

  

 

 

Ne {Continue on reverse side if necessary) .

 

 

| Counselor's Response (if applicable) |

“Date 2
Received: 7 T] Seng roc to Grievance Officer [Outside jurisdiction of this facility. Send to

Administrative Review Board, P.O. Box 19272,

; meee Springfield, i. 62794-9277
Response: -2</- u Leloottll... ihekg gr. te he ee agra (Fy Ale: we
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“Print Counselor's Name jo" Counselor's Signature : Date of Response .
| EMERGENCY REVIEW |
Date
Received: —— stig this determined fo be of an emergency nature? [_] Yes; expedite emergency grievance 5

[7] No; an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.

 

 

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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 28 of 33 PagelD #:52 ©

ILUNOts DEPARTMENT OF CORRECTIONS ,

OFFENDER'S GRIEVANCE ‘(Continaed)

 

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_ OFFENDER'S GRIEVANCE A-19
, Offender: | 4 - ‘ | iDe: _,.
[726-2BO//___ | Pease Prim used Liekich R3V9¢O
- Present Facility: j . {| Facility where grievance : ‘ ’
Stoteu de Jtesue occurred: Ste kui Ik
NATURE OF GRIEVANCE:

{1 Personat Property (1 Mail Handting {7 Restoration of Good Time ©) Disability

{Staff Conduct Cl Dietary ~ (1 Medical Treatment — CL HIPAA ”

[1] Transfer Dénial by Facility []. Transfer Denial by Transfer Coordinator CO Other gpeciy:

Disciplinary Report §/ 7 sy go// ; Ste teville,

. Date of Report Facility where issued

Note: —_ Protective.Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document {such asa Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, uniess the issue Involves discipline, is deemed an emergency, or is subject to direct review by.the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facllity or Issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance. .

. Administrative Review Board, ‘only if the issue involves transfer denial: by-the Transfer‘Coordinator, protective custody, involuntary ~

‘administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
Administrative Officer.

Brief Summary of Gri EM IA EO, EZ ay ordered: te peaduse « Grin’ Seccinven

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oa Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable harm to ss

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Offenders Si Signature
(Continue on reverse side if necessary) .

 

| Counselor's Response Wt appiicabie) |

Received: x i] i / / ( Send directly to Grievance Officer | Outside jurisdiction of this facility. Send tc

Administrative Review Board, P.O, Box 19277,
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Print Counselor's Name . “4A Counsalora Signature . Date of Rese ore
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| EMERGENY Review a
Date ,
Received: wd f ts this determined to be of an emergency nature? (J Yes; expedite emergency gtievance
1 No; an emergency is not substantiaicc!.
Offender should submit this grievance
in the norma! manner.
: . . 1 ! _.
Chief Administrative Officer's Signature / Date
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Case: 1:11-cv- 05624 Document #: 1-1 Filed: Obed aera oat 33 PagelD fr. 54
OFFENDER'S GRIEVANCE: (Conte)

 

 

 

 

 

 

 

 

 

 

 

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| Grievance Officer’s Report
Date Received: 2/4/41 Date of Review: 3/24/11 | Grievance # (optional): 0620 +988
Committed Person: Randy Liebich 1D#:_R34940

 

Nature of Grievance: DR201100071/1-STA

Facts Reviewed: Grievant was issued a DR for 203 on 1/5/11 and was found guilty and received six months
each c grade, segregation, GCC revocation, commissary restriction, contact visit restriction and $7.00
restitution. Grievant wants the ticket expunged because of a medical condition.

Grievance Officer verified that offender does have a history of kidney stones which could cause him not to
urinate. Grievant had filed previous grievances pertaining to his inability to urinate prior to this disciplinary
report. Grievance Officer also notes that grievant has no prior tickets for drug related issues.

Recommendation: Based upon a total review of all available information, it is recommended that grievance be
EXPUNGED.

 

___ Anna McBee, CCI! L UVa ly Ub-20

 

 

 

 

 

 

 

 

Print Grievance Officer's Name Grievance Officer's Signature
{Attach a copy of C. d Person’s Gri if }
| ’ Chief Administrative Officer's Response |
Date Received: “ / / . © !concur oS do not concur [ Remand
Comments: : .
Ulbrrews bb HDTy
| enreraeeneneneren hief Administrative Officers Signature i oF . . Date 7 . -
| Committed Person’s Appeal To The Director |

 

{am appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted within 30 days. after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277, Springfield, IL 62794-9277. (Attach a complete copy of the

 

 

 

 

 

original gi ig the for’s if applicable, and any pertinent documents.)
/ € te
4 eye K34%40 3/28 /20//
_/eommitted Person's Signature ID# Date
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Illinois Governor
Department of S.A. GODINEZ
Corrections Director

    
 

4301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 | Telephone: (217) 558-2200 / TDD: (800) 526-0844

June 3, 2011
Randy R. Liebich
Register No. R34940
Stateville Correctional Center

Dear Mr. Liebich:

This is in response to your grievance received on March 31, 2011, regarding a disciplinary report dated
January 5, 2011, which was alleged to have occurred at Stateville Correctional Center. This office has
determined the issue will be addressed without a formal hearing.

This office has reviewed your written grievances dated January 7, 10 and 26, of 2011 regarding the above
issued disciplinary report. You request the report be expunged and you returned to Unit B House.

This office has reviewed the disciplinary report 201100071/1-STA, written by CO Kissell, citing you for the
offense(s) of 203-Drugs and Drug Paraphernalia. A review of the Adjustment Committee summary dated
January 13, 2011 indicates you were found guilty. Recommended discipline was: 6 months C Grade, 6
months Segregation, Revocation 6 months GCC, Restitution of $7.00 paid to Stateville Correctional
Center/IDOC, 6 months Commissary Restriction and 6 months Contact Visits Restriction. The Chief
Administrative Officer concurred with the recommendation January 18, 2011.

Records show this office recommended to the Prisoner Review Board the GCC revocation of only 3 months.
The Prisoner Review Boards decision is pending.

The Grievance Officer's Report (0620 and 988) and subsequent recommendation dated March 24, 2011 and
approval by the Chief Administrative Officer on March 25, 2011 have been reviewed.

Based on a total review of all available information and a compliance check of the procedural due process
safeguards outlined in DR504, this office is reasonably satisfied the offender committed the offenses and
recommends the grievance be denied as sanctions are within the maximum recommendations allowed by
DR504. Expungement or further reduction of sanctions will not be considered by this office. Final decision

of the Prisoner Review Board regarding GCC revocation is pending. Cell assignment is an administrative
decision.

FOR THE BOARD: Bok Llbews
Gina Allen
Administrative Review Board
Office of Inmate Issues

CONCURRED: S. 4 (Sere

SA Godinez ; D
Director
al4/n

cc: Warden Marcus Hardy, Stateville Correctional Center
Randy R. Liebich, Register No. R34940

 
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Case: 1:11-cv-05624 Document #: 1-1 Filed: 08/17/11 Page 33 of 33 PagelD #:57

IN THE
WNITED STATES IsSTRICT Covkt

AJ RTHERA DISTRICT cf ELLIWels, EASTERA  Ditttsios

RANDY L/E Bic tt
Plaintiff/Petitioner

Vs. No.

WARDEN MARCOS HARDY et.cl
Defendant/Respondent

PROOF/CERTIFICATE OF SERVICE

TO: Clerk ef the OS. pistect Court TO:

wilted Steks Coord House

 

 

 

 

PLEASE TAKE NOTICE that on___ August ,2047__, I placed the
attached or enclosed documents in the institutional mail at Stefeviile

Correctional Center, properly addressed to the parties listed above for mailing through
the United States Postal Service.

DATED: _Ausust> 6, 20/1 /s/ Kony fubll
NAME: Uondy Liehich
LD.O.C.#: R3Y9VO

Stefeville Correctional Center
P.O. Box: gs

Johet IL 6c3S

Subscribed and sworn to before me this “day of Ak p20 ( _.
OFFICIAL SEAL

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tary Public - State ot illinois

‘a Pu De UA My Commision Expires Jan 20, 2015

Natary Public

 

  
 

 

 

 

 
